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Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                     Chapter      11
                                                                                                                        □ Check if this an
                                                                                                                          amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                          4/19

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Melinta Therapeutics, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                    Mailing address, if different from principal place of
                                                                                                 business

                                  44 Whippany Road
                                  Suite 280
                                  Morristown, NJ 07960
                                  Number, Street, City, State & ZIP Code                         P.O. Box, Number, Street, City, State & ZIP Code

                                  Morris                                                         Location of principal assets, if different from principal
                                  County                                                         place of business

                                                                                                 Number, Street, City, State & ZIP Code


5.   Debtor’s website (URL)       https://melinta.com/


6.   Type of debtor               ■ Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                  □ Partnership (excluding LLP)
                                  □ Other. Specify:




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Debtor    Melinta Therapeutics, Inc.                                                                   Case number (if known)
          Name


7.   Describe debtor's business        A. Check one:
                                       □ Health Care Business (as defined in 11 U.S.C. § 1Q1(27A))
                                       □ Single Asset Real Estate (as defined in 11 U.S.C. § 101 (51B))
                                       □ Railroad (as defined in 11 U.S.C. § 101(44))
                                       □ Stockbroker (as defined in 11 U.S.C. § 101 (53A))
                                       □ Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                       □ Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                       B None of the above

                                       B. Check all that apply
                                       □ Tax-exempt entity (as described in 26 U.S.C. §501)
                                       □ Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                       □ Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.qov/four-diqit-national-association-naics-codes.
                                                3254

8.   Under which chapter of the        Check one:
     Bankruptcy Code is the            □ Chapter 7
     debtor filing?
                                       □ Chapter 9
                                       ■ Chapter 11. Check all that apply:
                                                             □   Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                             □   The debtor is a small business debtor as defined in 11 U.S.C. § 101 (51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                             □   A plan is being filed with this petition.
                                                             □   Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                             ■   The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                             □   The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                       □ Chapter 12



9.   Were prior bankruptcy             ■ No.
     cases filed by or against
     the debtor within the last 8      □ Yes.
     years?
     If more than 2 cases, attach a
     separate list.                              District                                 When                                  Case number
                                                 District                                 When                                  Case number


10. Are any bankruptcy cases           □ No
    pending or being filed by a
    business partner or an             B Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
                                                 Debtor     See Annex 1                                                     Relationship            Affiliate
     attach a separate list
                                                 District   Delaware                      When                              Case number, if known




Official Form 201                              Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                page 2
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Debtor                                                                                            Case number (if known)
          Melinta Therapeutics, inc.
          Name


11. Why is the case filed in     Check all that apply:
    this district?
                                 ■      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                        preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                 □      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district


12. Does the debtor own or       B No
    have possession of any
                                            Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    real property or personal    □ Yes.
    property that needs
    immediate attention?                    Why does the property need immediate attention? (Check all that apply.)
                                            □ It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?      _________________ ______ _______________________________ __
                                            □ It needs to be physically secured or protected from the weather.
                                            □ It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                            □ Other       __________________________________ ____________ ______________________
                                            Where is the property?          ______ _______________________________________________ __________
                                                                             Number, Street, City, State & ZIP Code
                                            Is the property insured?
                                            □ No
                                            □ Yes.       Insurance agency
                                                         Contact name
                                                         Phone


          Statistical and administrative information

13. Debtor's estimation of                Check one:
    available funds
                                          B Funds will be available for distribution to unsecured creditors.
                                          □ After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of          □   1-49                                        □ 1,000-5,000                              □ 25,001-50,000
    creditors                    □   50-99                                       □ 5001-10,000                              □ 50,001-100,000
                                 □   100-199                                     □ 10,001-25,000                            □ More thanl00,000
                                 B   200-999

15. Estimated Assets             □ $0 - $50,000                                  □ $1,000,001 -$10 million                  □   $500,000,001 - $1 billion
                                 □ $50,001 -$100,000                             □ $10,000,001 - $50 million                □   $1,000,000,001 -$10 billion
                                 □ $100,001 -$500,000                            □ $50,000,001 -$100 million                □   $10,000,000,001 - $50 billion
                                 □ $500,001 - $1 million                         B $100,000,001 -$500 million               □   More than $50 billion


16. Estimated liabilities        □ $0 - $50,000                                  □ $1,000,001 - $10 million                 □   $500,000,001 - $1 billion
                                 □ $50,001 -$100,000                             □ $10,000,001 - $50 million                □   $1,000,000,001 - $10 billion
                                 □ $100,001 -$500,000                            □ $50,000,001 -$100 million                □   $10,000,000,001 - $50 billion
                                 □ $500,001 - $1 million                         ■ $100,000,001 -$500 million               □   More than $50 billion


Note: The information provided regarding number of creditors, assets, and liabilities in Items 14-16 is being provided on a consolidated basis for the
entities listed on Annex 1.




 Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor     Melinta Therapeutics, Inc.                                                              Case number (if known)
           Name



           Request for Relief, Declaration, and Signatures

WARNING - Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
          imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,1519. and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 111 United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      12/27/2019
                                                  MM/DD/YYYY


                             X      \                                                                    Jennifer Sanfilippo
                                         *re\T authorized representative of debtor                       Printed name

                                 Title   Interim Chief Executive Officer




18, Signature of attorney
                             y
                             A                       i2~                  -                               Date 12/27/2019
                                 Signature of attorney for debtor                                              MM/DD/YYYY

                                 David R. Hurst
                                 Printed name

                                 Cole Schotz P.C.
                                 Firm name

                                 500 Delaware Avenue
                                 Suite 1410
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code

                                 Contact phone     302-652-3131                  Email address      dhurst@coieschotz.com

                                 No, 3743 DE
                                 Bar number and State




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                                             ANNEX 1
                                    SCHEDULE OF DEBTORS
        On the date hereof, each of the affiliated entities listed below (including the debtor in this
chapter 11 case) filed in this Court a petition for relief under chapter 11 of title 11 of the United
States Code. Substantially contemporaneously with the filing of these petitions, these entities
filed a motion requesting that their respective chapter 11 cases be jointly administered for
procedural purposes only.

                               Debtors                                     Federal Employer
                                                                         Identification Number
  1.        Melina Therapeutics, Inc.                                          XX-XXXXXXX
 2.         Cempra Pharmaceuticals, Inc.                                       XX-XXXXXXX
  3.        CEM-102 Pharmaceuticals, Inc.                                      XX-XXXXXXX
 4.         Melinta Subsidiary Corp.                                           XX-XXXXXXX
  5.        Rempex Pharmaceuticals, Inc.                                       XX-XXXXXXX
 6.         Targanta Therapeutics Corporation                                  XX-XXXXXXX




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


 In re                                                             Chapter 11

 MELINTA THERAPEUTICS, INC., et al.,                               Case No. 19-           (__ )

                    Debtors.1                                      (Joint Administration Pending)


          ATTACHMENT TO VOLUNTARY PETITION FOR NON-INDIVIDUALS
                FILING FOR BANKRUPTCY UNDER CHAPTER 11

      1.     If any of the debtor’s securities are registered under Section 12 of the Securities
Exchange Act of 1934, the SEC file number is 001-35405.

         2.    The following financial data is the latest available information and refers to the
debtor’s condition on September 30. 2019 (unaudited), except as set forth below.

         a.        Total assets:                                              $228.491.000

         b.        Total debts (including debts listed in 2.c, below)         $289.022.000

         c.        Debt securities held by more than 500 holders:            N/A

         d.        Number of shares of preferred stock:                      0

         e.        Number of shares of common stock:                          13.750.691 (as ofNovember 6. 20191

         f.        Comments, if any:                                         N/A

       3.     Brief description of Debtor’s business: Melinta is a biopharmaceutical company
focused on developing and commercializing differentiated anti-infective products.

         4.    List the name of any person who directly or indirectly owns, controls, or holds, with
power to vote, 5% or more of the voting securities of debtor: Vatera Healthcare Partners LLC, Vatera
Capital Management LLC, and Kevin Ferro.




1        The Debtors and the last four digits of their respective taxpayer identification numbers are: Melinta
Therapeutics, Inc. (0364); Cempra Pharmaceuticals, Inc. (5814); CEM-102 Pharmaceuticals, Inc. (4262); Melinta
Subsidiary Corp. (9437); Rempex Pharmaceuticals, Inc. (6000); and Targanta Therapeutics Corporation (1077). The
address of the Debtors’ corporate headquarters is 44 Whippany Road, Suite 280, Morristown, New Jersey 07960,



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                               MELINTA THERAPEUTICS, INC.

                                          Secretary’s Certificate

       The undersigned, being the Secretary of Melinta Therapeutics, Inc., a Delaware corporation
(the “Corporation”'), does hereby certify as follows:

       Attached hereto as Annex A is a true, correct, and complete copy of the resolutions
       duly adopted by the Board of Directors of the Corporation on December 27, 2019
       (the “Resolutions”), and such Resolutions have not been modified or rescinded in
       whole, in part, or in any respect and are in full force and effect

      IN WITNESS WHEREOF, the undersigned, in his capacity as Secretary of the
Corporation, has duly executed and caused this certificate to be delivered as of December 27,2019.

                                                  MELINTA THERAPEUTICS, INC.




                                                  By:4                 /

                                                  Name: Pet'er Milligan             /
                                                             x.. ■ '


                                                  Title: Secretary




                  [Signature Page to Secretary’s Certificate of Melinta Therapeutics, Inc.]
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                                              ANNEX A

                   RESOLUTIONS OF THE BOARD OF DIRECTORS OF
                          MELINTA THERAPEUTICS, INC.

Chapter 11 Filing
        RESOLVED, that the Board of Directors (the “Board”) of Melinta Therapeutics, Inc., a
Delaware corporation (the “Corporation”), has determined, after consultation with management
and the legal and financial advisors of the Corporation, that it is desirable and in the best interests
of the Corporation, its creditors and other interested parties, that the Corporation and its following
wholly-owned subsidiaries: (i) Targanta Therapeutics Corporation, a Delaware corporation, (ii)
Rempex Pharmaceuticals, Inc., a Delaware corporation, (iii) Melinta Subsidiary Corp., a Delaware
corporation, (iv) Cempra Pharmaceuticals, Inc., a Delaware corporation, and (v) Cem-102
Pharmaceuticals, Inc., a Delaware corporation (collectively, the “Subsidiaries”), file voluntary
petitions for relief (the “Petitions”) under chapter 11 of title 11 of the United States Code (the
“Bankruptcy Code”) in the United States Bankruptcy Court for the District of Delaware (the
“Bankruptcy Court”), for the purpose of initiating bankruptcy cases (the “Bankruptcy Cases”); and
be it further
         RESOLVED, that the officers of the Corporation (collectively, the “Officers”) are
empowered, authorized and directed, on behalf of the Corporation, to execute and verify the
Petitions as well as any other documents, schedules, motions, lists, applications, pleadings, orders
and other documents (the “Chapter 11 Filings”), to cause the Petitions and the Chapter 11 Filings
to be filed with the Bankruptcy Court, and to take and perform any further acts and deeds that such
Officers deem necessary, appropriate or desirable in connection with the Bankruptcy Cases,
including, without limitation, the payment of fees, expenses and taxes; and be it further

        RESOLVED, that the Officers are empowered, authorized and directed to cause the
Corporation to continue to conduct business operations in the ordinary course during the pendency
of the Bankruptcy Cases, subject to the restrictions of the Bankruptcy Court and the obligations of
the Company set forth in the RSA (as defined below); and be it further

Restructuring Support Agreement
         RESOLVED, that in connection with the Bankruptcy Cases, the Board (i) has determined
it is desirable and in the best interests of the Corporation, its creditors, and other parties in interest
that the Corporation shall be, and hereby is, authorized to enter into that certain Restructuring
Support Agreement (the “RSA”) by and among each of the Corporation, the Subsidiaries, and
affiliates of Deerfield Management Company, L.P. substantially in the form presented to the Board
on or in advance of the date hereof, with such changes, additions, and modifications thereto as an
Officer executing the same shall approve, such approval to be conclusively evidenced by an
Officer’s execution and delivery thereof; and be it further
        RESOLVED, that the Officers are empowered, authorized and directed, with full power
of delegation, on behalf of the Corporation, to cause the Corporation to negotiate, execute, and
deliver the RSA and any related documents contemplated thereby, in such form and with such

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changes or amendments as any one or more such Officers shall approve as necessary or desirable;
and be it further

Regulatory Filings
        RESOLVED, that, in order for the Corporation to comply with all applicable requirements
of appropriate federal, state, and international regulatory agencies in order to seek approval,
consent, waiver, or other administrative action in respect of the transactions contemplated by the
foregoing resolutions (collectively, the “Regulations”), including, but not limited to, the filing
requirements under the Regulations, including, if required, the Hart-Scott-Rodino Antitrust
Improvements Act of 1976, as amended, the Officers are authorized to prepare, with the assistance
of counsel, execute, and file all reports, applications, statements, documents, and information
required to be filed by the Corporation pursuant to the Regulations and to respond to all requests
for additional information and to meet or confer, or to cause counsel to meet or confer, with
officials of the applicable governmental agencies with jurisdiction over the Corporation in respect
of the transactions contemplated by the foregoing resolutions; and be it further

        RESOLVED, that in order for the Corporation to comply with all requirements under the
Securities Exchange Act of 1934, as amended, and the rules and regulations promulgated
thereunder (the “Exchange Act”) and any applicable state securities laws or requirements of the
Nasdaq Stock Exchange, the Officers are authorized and empowered, on behalf of the
Corporation, with the assistance of counsel, to take all action necessary, appropriate or advisable
to cause to be prepared, executed and filed, all reports, statements, documents and information
related to the Bankruptcy Cases required to be filed by the Corporation, and to take all other
action necessary, appropriate or advisable in connection with the Exchange Act and any
applicable federal or state securities laws or requirements of the Nasdaq Stock Exchange,
including one or more Current Reports on Form 8-K and notifications to the Nasdaq Stock
Exchange; and be it further

Retention of Advisors
        RESOLVED, that the Officers are empowered, authorized and directed to continue to
retain, on behalf of the Corporation, the law firms of Skadden, Arps, Slate, Meagher & Flom LLP
(“Skadden Arps”) and Cole Schotz P.C. (“Cole Schotz”) to render general legal advice and in the
event that the Corporation files the Petitions, to represent the Corporation and its Subsidiaries in
connection with such proceedings and all other related matters in connection therewith, in such
capacities and on such terms as the Officers may approve and/or have previously approved; and
be it further
        RESOLVED, that the Officers are empowered, authorized and directed to continue to
retain, on behalf of the Corporation, Jefferies LLC (“Jefferies”) to provide investment banking
services to the Corporation and any other services agreed to by the parties; and be it further

        RESOLVED, that the Officers are empowered, authorized and directed to continue to
retain, on behalf of the Corporation, Portage Point Partners, LLC (“Portage Point”) to serve as
financial advisor to the Corporation and any other services agreed to by the parties; and be it further

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        RESOLVED, that the Officers are empowered, authorized, and directed, on behalf of the
Corporation, to continue the employment and retention of professionals in the ordinary course as
long as they deem appropriate and in the Bankruptcy Cases to retain and employ other attorneys,
accountants, and other professionals to assist in the Bankruptcy Cases on such terms as are deemed
necessary, proper, or desirable; and be it further
        RESOLVED, that the Officers are authorized and directed to execute any appropriate
engagement letters and agreements and such other documents necessary to retain Skadden Arps,
Cole Schotz, Jefferies, Portage Point, and any other or additional financial advisors, investment
bankers, accountants, auditors, advisors, legal counsel, and other professionals not specifically
identified herein (the “Professionals”), and to cause the Corporation to pay appropriate retainers
to such Professionals prior to the filing of the Bankruptcy Cases or after to the extent appropriate
and permitted in the Bankruptcy Cases, and to cause to be filed appropriate applications or motions
seeking authority to retain and pay for the services of such Professionals; and be it further

Key Employee Incentive Program
       WHEREAS, the Compensation Committee (the “Committee”) of the Board of the has
reviewed the terms and conditions of a key employee incentive plan in substantially the form
provided at the Board’s meeting on November 27, 2019 (the “KEEP”) and recommended that the
Board authorize, adopt and approve the KEIP; and

        WHEREAS, following the recusal of Jennifer Sanfilippo, the Interim Chief Executive
Officer and Director of the Corporation, who may be deemed to have a conflict of interest with
respect to the KEIP, and based upon such recommendation by the Committee, the Board has also
independently reviewed the terms and conditions of the KEEP and discussed relevant
considerations, including the advantages of the KEIP in incentivizing certain key employees to
achieve a value-maximizing restructuring transaction for the benefit of the Corporation’s
stakeholders, as well as the KEIP’s effects on the business of the Corporation generally; and

      WHEREAS, the Board has determined that it is advisable and in the best interests of the
Corporation and its stockholders and other stakeholders for the Corporation to adopt the KEIP.

       RESOLVED, that the KEEP is authorized, adopted and approved in all respects, subject to
the approval thereof by the Bankruptcy Court; and be it further

General Resolutions
        RESOLVED, that the Officers are empowered, authorized and directed, on behalf of the
Corporation, to take, from time to time, any and all such actions and to execute and deliver from
time to time any and all such agreements, amendments, instruments, requests, receipts,
applications, reports, certificates, and other documents, and to execute, verify and file or cause to
be filed all petitions, schedules, lists, motions, applications, and other papers and documents
necessary or desirable in connection with the foregoing resolutions, and to take any and all action
deemed necessary, proper, or desirable in connection with the foregoing resolutions and to carry
out and perform the purposes of the foregoing resolutions; and be it further

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        RESOLVED, that the omission from the foregoing resolutions of any agreement,
document, or other arrangement contemplated by any of the agreements, documents, or
instruments described in the foregoing resolutions or any action to be taken in accordance with
any requirement of any of the agreements, documents, or instruments described in the foregoing
resolutions shall in no manner derogate from the authority of the Officers to take all actions
necessary, desirable, advisable, or appropriate to consummate, effectuate, carry out, or further the
transactions contemplated by, and the intent and purposes of, the foregoing resolutions; and be it
further
       RESOLVED, that any and all actions lawfully done for and on behalf of the Corporation
by any Officer or Professional engaged by the Corporation with respect to any transactions
contemplated by the foregoing resolutions, before or after their adoption, are ratified, authorized,
approved, adopted in good faith, and consented to in all respects for all purposes.




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Fill in this information to identity the Case:

Debtor Melinta Therapeutics, Inc., et al

United States Bankruptcy Court for the: District of Delaware
                                                                                                             □ Check if this is an
                                                                                                                 amended filing
Case Number (if known):



OFFICIAL FORM 204
Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have the 20 Largest
Unsecured Claims and Are Not Insiders                                           12/15


A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include
claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders
of the 20 largest unsecured claims.




Name of Creditor and complete              Name, telephone number, and       Nature of the   Indicate if      Amount of unsecured claim
mailing address, including zip code        email address of creditor         claim           claim is
                                           contact                           (example,       contingent,      If the claim is fully unsecured, fill in only
                                                                             trade debts,    unliquidated,    unsecured claim amount. If claim is
                                                                             bank loans,     or disputed      partially secured, fill in total claim amount
                                                                             professional                     and deduction for value of collateral or
                                                                             services, and                    setoff to calculate unsecured claim
                                                                             government
                                                                             contracts)

                                                                                                              Total        Deduction for      Unsecured
                                                                                                              claim, if    value of
                                                                                                              partially    collateral or
                                                                                                              secured      setoff

1.   World Gen LLC                         Lee Armstrong                     Trade Debt                                                          $6,904,906
     120 Route 17 North                    Ph: 312-322-1051
     Paramus, NJ 07652                     Lee@interchem.com


2.   Amplity, Inc                          Karen Kelly                       Trade Debt                                                          $1,731,996
     d/b/a Amplity Health                  Ph: 201-566-8190
     1000 Floral Vale Blvd.                karen.kelly@amplity.com
     Suite 400
     Yardley, PA 19067

3.   Trialcard Incorporated                Scott Foreman                     Trade Debt                                                          $1,331,025
     2250 Perimeter Park Drive             Ph: 919-415-3237
     Suite 300                             sforeman@trialcard.com
     Moirisville, NC 27560

4.   Lonza Ltd                             Patricia Green                    Trade Debt                                                            $842,889
     Muenchensteinerstrasse 38             Ph: +41 61 316 81 11
     CH-4002 Basel                         Patricia.Green@lonza.com
     Switzerland
5.   Jones Microbiology Institute          Andrew Fuhrmeister                Trade Debt                                                            $655,931
     Inc.                                  Ph: 319-665-3370
     345 Beaver Kreek Centre               andrew-fiihrmeister@jmilabs.com
     Suite A
     North Liberty, LA 52317




Official Form 204 Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who have the 20 Largest Unsecured Claims
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Debtor Melinta Therapeutics. Inc., et al                               Case number (if known)
          Name



Name of Creditor and complete          Name, telephone number, and        Nature of the     Indicate if      Amount of unsecured claim
mailing address, including zip code    email address of creditor          claim             claim is
                                       contact                            (example,         contingent,      If the claim is Hilly unsecured, fill in only
                                                                          trade debts,      unliquidated,    unsecured claim amount. If claim is
                                                                          bank loans,       or disputed      partially secured, fill in total claim amount
                                                                          professional                       and deduction for value of collateral or
                                                                          services, and                      setoff to calculate unsecured claim
                                                                          government
                                                                          contracts)

                                                                                                              Total       Deduction for      Unsecured
                                                                                                              claim, if   value of
                                                                                                              partially   collateral or
                                                                                                              secured     setoff

6.    bioMerieux Inc.                  Geraldine Saint Andre               Trade Debt                                                             $567,500
      3 Route de Port Michaud          Ph: +33 04 78 87 75 95
      38390 La Balme-les-Grottes       geraldine. saintandre@
      France                           biomerieux.com

7.    Cravath, Swaine & Moore LLP      Kenneth Halcolm                     Professional                                                           $396,301
      Worldwide Plaza                  Ph: 212-474-1000                    Services
      825 Eighth Avenue                KHalcom@cravath. com
      New York, NY 10019
8.    Automotive Rentals, Inc.         Brian Creelman                      Trade Debt                                                             $373,363
      4001 Leadenhall Road             Ph: 856-533-9820
      Mount Laurel, NJ 08054           bcreelman@arifleet.com

9.    Relay Health                     Marina Engler                       Trade Debt                                                             $329,806
      450 Lindbergh Drive              Ph: 412-474-1110
      Moon Township, PA 15108          marina.cantoni@mckesson.com

10.   IQVIA, Inc.                      Susan Ross                          Trade Debt                                                             $295,292
      100 IMS Dr.                      Ph: 973-316-8047
      Parsippany, NJ 07054             susan.ross 1 @iqvia.com

11.   Willkie Farr &                   Sean Ewen                           Professional                                                           $293,149
      Gallagher, LLP                   Ph: 212-728-8867                    Services
      787 Seventh Avenue               sewen@willkie.com
      2nd Floor
      New York, NY 10019-6099
12.   Veeva Systems, Inc.              Seth Fox                            Trade Debt                                                             $250,883
      4280 Hacienda Drive              Ph: 610-360-8487
      Pleasanton, CA 94588             seth.fox@veeva.com

13.   ZS Associates, Inc.              Mahendra Hapse                      Trade Debt                                                             $194,059
      World Trade Center, Tower 3      Ph: +91 20 6739 9090
      Kharadi, Pune -411014            mahendra.hapse@zs.com
      Maharashtra, India
14.   Yale University, OCR             Dawn Marie Portoff                  Trade Debt                                                             $177,244
      Yale Office of Cooperative       Ph: 203-436-4670
      Research                         dawnmarie.portoff@yale. edu
      433 Temple Street
      New Haven, CT 06511-6803
15.   Activate LLC                     Mike Fernandez                      Trade Debt                                                             $155,500
      1 Gatehall Drive, Suite 306      Ph: 201-341-0308
      Parsippany, NJ 07054             mfemandez@letsactivate.com



16.   J. Knipper and Company, Inc.     Holly Opdyke                        Trade Debt                                                             $150,256
      One Healthcare Way               Ph: 848-373-7036
      Lakeway, NJ 08701                Holly.Opdyke@knipper.com

17.   D2 Pharma Consulting LLC         Glenn Johnston                      Trade Debt                                                             $128,967
      400 Chesterfield Center          Ph: 314-308-2028
      Suite 400                        glenn.johnston@d2rx.com
      Chesterfield, MO 63017



                                                                       2
Official Form 204        Chapter 11 or Chapter 9 Cases: List of Creditors Who have the 20 Largest Unsecured Claims
                    Case 19-12748-LSS                    Doc 1        Filed 12/27/19             Page 14 of 18
Debtor Melinta Therapeutics. Inc., et al                                Case number (if known)
          Name



Name of Creditor and complete          Name, telephone number, and         Nature of the     Indicate if      Amount of unsecured claim
mailing address, including zip code    email address of creditor           claim             claim is
                                       contact                             (example,         contingent,      If the claim is fully unsecured, fill in only
                                                                           trade debts,      unliquidated,    unsecured claim amount. If claim is
                                                                           bank loans,       or disputed      partially secured, fill in total claim amount
                                                                           professional                       and deduction for value of collateral or
                                                                           services, and                      setoff to calculate unsecured claim
                                                                           government
                                                                           contracts)

                                                                                                              Total        Deduction for      Unsecured
                                                                                                              claim, if    value of
                                                                                                              partially    collateral or
                                                                                                              secured      setoff

18.   CoverMyMeds, LLC                 Gavin Rodgers                       Trade Debt                                                              $127,200
      22901 Millcreek Blvd.            Ph: 740-888-5043
      Suite 240                        GRogers@covermymeds.com
      Highland Hills, OH 44122
19.   Quantuvis LLC                    Matthew Kalgren                     Trade Debt                                                              $120,000
      319 Clematis Street              Ph: 561-660-7052
      Suite 600                        mkalgren@quantuvis.net
      West Palm Beach, FL 33401
20.   Xcenda LLC                       Reetta Pitcher                       Trade Debt                                                             $105,690
      4114 Woodlands Parkway           Ph; 704-943-1847
      Palm Harbor, FL 34685            reetta.pitcher@xcenda.com

21.   Razorfish Health                 Derek Bengston                       Trade Debt                                                             $101,461
      100 Penn Square East             Ph: 267-295-7100
      4th Floor South                  info@razorfishhealth.com
      Philadelphia, PA 19107
22.   Mosaic Solutions Group LLC       Rob Kime                             Trade Debt                                                              $99,756
      625 Molly Lane                   Ph: 678-809-4407
      Suite 100                        rob.kime@mosaicsg.com
      Woodstuck, GA 30189

23.   IDT Australia Limited            David Sparling                       Trade Debt                                                              $90,826
      45 Wadhurst Drive                Ph: +61 3 9801 8888
      Boronia Victoria 3155            dsparling@idtaus. com. au
      Australia

24.   Concur Technologies, Inc.        Doug Vose                            Trade Debt                                                              $66,938
      601 108th Ave. NE, Ste. 1000     Ph: 507-380-1478
      Bellevue, WA 98004               doug.vose.jr@sap.com

25.   Fish & Richardson, PC            Andrea Dorigo                        Professional                                                            $66,378
      P.O. Box 3295                    Ph: 858-678 4794                     Services
      Boston, MA 02241-3295            dorigo@fr.com

26.   Crowe LLP                        Joo Hee Ohk                          Professional                                                            $60,298
      225 W. Wacker Dr.                Ph: 630-575-4253                     Services
      Suite 2600                       j oohee. ohk@crowe. com
      Chicago, IL 60606
27.   MMIT                             Matthew Seltzer                      Trade                                                                   $57,500
      1040 Stony Hill Road             Ph: 267-751-3085
      Suite 300                        mseltzer@mmitnetwork.com
      Yardley, PA 19067
28.   The Medicines Company            Donald J. Wolfe, Jr., Esq.           Litigation       Disputed
      8 Sylvan Way                     Michael A. Pittenger, Esq.           Claim            Contingent
      Parsippany, NJ 07054             Potter Anderson & Corroon LLP                         Unliquidated
                                       Ph: 302-984-6000
                                       dwolfe@potteranderson.com
                                       mpittenger@potteranderson.com




                                                                       3
Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who have the 20 Largest Unsecured Claims
                     Case 19-12748-LSS                   Doc 1         Filed 12/27/19            Page 15 of 18
Debtor Melinta Therapeutics. Inc., et al.                               Case number (if known)
          Name



Name of Creditor and complete           Name, telephone number, and         Nature of the    Indicate if       Amount of unsecured claim
mailing address, including zip code     email address of creditor           claim            claim is
                                        contact                             (example,        contingent,      If the claim is fully unsecured, fill in only
                                                                            trade debts,     unliquidated,    unsecured claim amount. If claim is
                                                                            bank loans,      or disputed      partially secured, fill in total claim amount
                                                                            professional                      and deduction for value of collateral or
                                                                            services, and                     setoff to calculate unsecured claim
                                                                            government
                                                                            contracts)

                                                                                                               Total       Deduction for      Unsecured
                                                                                                               claim, if   value of
                                                                                                               partially   collateral or
                                                                                                               secured     setoff

29.   Fortis Advisors LLC               Ryan D. Stottmann, Esq.             Litigation       Disputed
      c/o Legal Department              Alexandra M. Cumings, Esq.          Claim            Contingent
      4225 Executive Square             Morris Nichols Arsht &                               Unliquidated
      Suite 1040                        Tunnell LLP
      La Jolla, CA 92037                Ph: 302-658-9200
                                        rstottmann@mnat.com
                                        acumings@mnat.com

30.   The Scripps Research Institute    Karen B. King, Esq.                 Trade Debt;      Disputed
      10550 N. Torrey Pines Rd.         Parker & Zubkoff LLP                Litigation       Contingent
      TPC8                              Ph: 619-233-8292                    Claim            Unliquidated
      La Jolla, CA 92037                kking@pzfirm.com




                                                                        4
Official Form 204         Chapter 11 or Chapter 9 Cases: List of Creditors Who have the 20 Largest Unsecured Claims
                                Case 19-12748-LSS                             Doc 1         Filed 12/27/19               Page 16 of 18




  Fill In this information to identify the case:

  Debtor name         Meiinta Therapeutics, Inc..... .......................

  United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

  Case number (if known)
                                                                                                                                   □ Check if this is an
                                                                                                                                     amended fifing


Official Form 202
 Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152,1341,
1519, and 3571.


                 Declaration and signature

        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
        individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

         □        Schedule A/B: Assets-Reai and Personal Property (Official Form 206A/B)
         □        Schedule D; Creditors Who Have Claims Secured by Property (Official Form 206D)
         □        Schedule E/P: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         □        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         □        Schedule H: Codebtors (Official Form 206H)
         □        Summary of Assets and Liabilities for Non-Individuals (Official Form 2Q6Sum)
         □        Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Notlnslders (Official Form 204)
         □        Other document that requires a declaration                _____             _________              _____       ______

        I declare under penalty of perjury that the foregoing is trm /ndcorrect.

         Executed on        12/27/2019                               X                                  1
                                                                         Signature olurteividuai signing on behalf of debtor

                                                                         Jennifer Sanfilippo
                                                                         Printed name

                                                                         interim Chief Executive Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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                Case 19-12748-LSS            Doc 1       Filed 12/27/19        Page 17 of 18




                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


In re                                                              Chapter 11

 MELINTA THERAPEUTICS, INC., et al.,                               Case No. 19-            (___ )

                   Debtors.1                                       (Joint Administration Pending)


                 CONSOLIDATED CORPORATE OWNERSHIP STATEMENT

         Pursuant to Rules 1007(a)(1) and 7007.1 of the Federal Rules of Bankruptcy Procedure,

set forth below are the corporate entities that directly or indirectly own 10% or more of any class

of Melinta Therapeutics, Inc.’s equity interests, as of August 9, 2019:

             Shareholder                            Address                          Number of Shares
 Vatera Healthcare Partners LLC        400 Royal Palm Way, Suite 212         12,660,587
                                       Palm Beach, FL 33480
 Vatera Capital Management LLC         400 Royal Palm Way, Suite 212         12,780,731
                                       Palm Beach, FL 33480

         Melinta Therapeutics, Inc. owns 100% of the equity interests of Cempra Pharmaceuticals,

Inc., CEM-102 Pharmaceuticals, Inc., Melinta Subsidiary Corp., Rempex Pharmaceuticals, Inc.,

and Targanta Therapeutics Corporation, which are the other debtors and debtors-in-possession in

these chapter 11 cases.




         The Debtors and the last four digits of their respective taxpayer identification numbers are: Melinta
         Therapeutics, Inc. (0364); Cempra Pharmaceuticals, Inc. (5814); CEM-102 Pharmaceuticals, Inc. (4262);
         Melinta Subsidiary Corp. (9437); Rempex Pharmaceuticals, Inc. (6000); and Targanta Therapeutics
         Corporation (1077). The address of the Debtors’ corporate headquarters is 44 Whippany Road, Suite 280,
         Morristown, New Jersey 07960.



60124/0001-17916146v3
                                Case 19-12748-LSS                               Doc 1        Filed 12/27/19         Page 18 of 18




                  formation to identify tfia case:

 Debtor name          Melinta Therapeutics, Inc.

 United States Bankruptcy Court for the:             DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                □ Check if this is an
                                                                                                                                  amended filing


Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                         12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual's position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING - Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both, 18 U.S.C. §§ 152,1341,
1519, and 3571.


                 Declaration and signature

        I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
        individual serving as a representative of the debtor in this case.

        I have examined the information in the documents checked below and i have a reasonable belief that the information is true and correct:

         □        Schedule A/B: Assets-Rea! and Personal Property (Official Form 206A/B)
         □        Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
         □        Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
         □        Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
         □        Schedule H: Codebtors (Official Form 206H)
         □        Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
         □        Amended Schedule                                                                    _____                 _
         □        Chapter 11 or Chapter^Cas^Usi oTci^dS^Who Have the 20 Largest Unsecured Claims and Are Not insiders (Official Form 204)
                  Other document that requires a declaration     Consolidated Corporate Ownership Statement

        I declare under penalty of perjury that the foregoing is tru#/nl correct.

         Executed on        12/27/2019                               X
                                                                         Sigi                                 of debtor

                                                                         Jennifer Saftfilippo
                                                                         Printed name

                                                                         Interim Chief Executive Officer
                                                                         Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-individual Debtors
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